                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                           DOCKET NO. 3:02-cr-00158-FDW
 UNITED STATES OF AMERICA,                      )
                                                )
 vs.                                            )
                                                )
 (11) TELLY SAVALAS ARMSTRONG,                  )                       ORDER
                                                )
        Defendant.                              )
                                                )



       THIS MATTER is before the Court on Defendant’s pro se Motion to File Excess Pages

(Doc. Nos. 121), Motions for Appointment of Counsel (Doc. No. 120, 122), and Motion for

Compassionate Release (Doc. No. 123).

       The Court hereby ORDERS the Government to respond to Defendant’s Supplemental

Motion for Compassionate Release (Doc. No. 123) when it responds to Defendant’s Motions for

Reduced Sentence under the First Step Act and for Compassionate Release. (Doc. Nos. 110, 118).

The Government shall have thirty (30) days from the date of this Order, to file its response to all

three Motions (Doc. Nos. 110, 118, 123), with the Court. All other terms previously ordered will

remain the same.     The Government shall advise the United States Probation Office if the

Government believes a supplemental Presentence Investigation Report will be required.

       In respect to Defendant’s Motion to File Excess Pages (Doc. No. 121), the motion is

GRANTED.

       With respect to the Motions to Appoint Counsel (Doc. No. 120, 122), criminal defendants

do not have a right to counsel beyond their first appeal. E.g., United States v. Kenny, No. 3:01-

cr-00185-FDW, 2020 WL 2094116, at *1 (W.D.N.C. Apr. 30, 2020); United States v. Ismel, No.
                                         1



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3:94-CR-00008-1, 2012 WL 113392, at *1 (W.D. Va. Jan. 13, 2012). Defendant has not shown

extraordinary circumstances warranting the appointment of counsel at this time. The Motion (Doc.

No. 120, 122) are therefore DENIED.

       IT IS, THEREFORE, ORDERED:

              The Government shall respond to Defendant’s Motions for Reduced Sentence

               under the First Step Act and Compassionate Release (Doc. Nos. 110, 118. 123)

               within thirty (30) days from the date of this Order.

              The Defendant’s Motion to File Excess Pages (Doc. No. 121) is GRANTED.

              The Defendant’s Motion to Appoint Counsel (Doc. No. 120, 122) are DENIED.

       IT IS SO ORDERED.


                                         Signed: November 5, 2020




                                         SEALED DOCUMENT with access to Court Only.




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